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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                8:14CR262
       vs.                                     )
                                               )                  ORDER
                                               )
SAMUEL BROOKINS,                               )
                                               )
                     Defendant.                )


       This matter is before the court is unopposed defendant’s motion to continue trial [38]
as defendant has agreed to plead to a state charge in return for a dismissal of the federal
charges. The court finds good cause being shown and the trial shall be continued. The
defendant has previously complied with NECrimR 12.1(a).

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for December 9, 2014 is continued to January 27, 2015.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and January 15, 2015, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED November 25, 2014.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
